

ORDER

PER CURIAM:
AND NOW, this 27th day of September, 1999, there having been filed with this Court by Steven John Bernosky his verified Statement of Resignation dated August 17, 1999, stating that he desires to resign from the Bar of the Commonwealth of Pennsylvania in accordance with the provisions of Rule 215, PaR.D.E., it is
ORDERED that the resignation of Steven John Bernosky be and it is hereby accepted and he is DISBARRED ON CONSENT from the Bar of the Commonwealth of Pennsylvania; and it is further ORDERED that he shall comply with the provisions of Rule 217, PaR.D.E. Respondent shall pay costs, if any, to the Disciplinary Board pursuant to Rule 208(g), PaR.D.E.
